1. It is competent, where relevant, for a witness to testify that the defendant was under the influence of intoxicating liquor. It is competent for the reason that it is a statement of fact actually observed by the witness at the time as evidenced by the defendant's conduct and appearance. Cavender v. State, 46 Ga. App. 782 (2) (169 S.E. 253); State v. Jessup,  183 N.C. 771 (111 S.E. 523).
2. It is not reversible error to fail to charge on confessions in the absence of a request.
3. The probation conditions embodied in the sentence are not illegal or unreasonable and may be imposed under authority stated in Davis v. State, 53 Ga. App. 325
(185 S.E. 400), and cit.
4. The evidence authorized the verdict.
                         DECIDED APRIL 29, 1943.
The defendant was convicted of driving an automobile on the public highway while under the influence of intoxicating liquor. Allgood, a witness for the State, testified in part as follows: "On last Saturday night this defendant now on trial, J. H. Johnson, was turned over to me and Mr. Ward by some one else. Regarding his condition at that time, and whether or not he was under the influence of intoxicating liquors, wines, or beers — well, he was drinking, and I would call him considerably under the influence. I have only known this boy since Saturday night." There was testimony by another witness, Hicks, that the defendant was "under the influence of intoxicating liquor. . . Well, he was drinking." Another witness, Ward, testified: "I and some one else with me brought him here to jail. Regarding his condition relative to being under the influence of liquor, he was drinking. He told me that he had drunk a couple of bottles of beer, as well as I remember. He also told me that he had had a wreck down there, and I asked him why he left the scene of the accident and he said he didn't know why he left. I said he told me that he had had a couple of bottles of beer. As to whether or not a couple of bottles of beer would make a man drunk, well, it smelled like he had had more than two. I think beer smells stronger than liquor. It was noticeable on him, the way he was talking and everything. And he didn't deny drinking." *Page 378 
It is competent, where relevant, for a witness to testify that the defendant was under the influence of intoxicating liquor. It is competent for the reason that it is a statement of fact actually observed by the witness at the time as evidenced by defendant's conduct and appearance. Cavender v. State, Statev. Jessup, supra.
The rulings announced in headnotes 2 and 3 do not require elaboration.
The evidence authorized the finding that the defendant was guilty of driving an automobile on a public highway while under the influence of intoxicating liquor, beers, wines, and opiates.
Judgment affirmed. Broyles, C. J., and Gardner, J., concur.